Case 4:23-cr-00061-Y Documenti6 Filed 03/16/23 Page1of1i PagelD 25

CiA 29 APPOINTMENT OF AND AUTHORITY TO PAY COURT-APPOINTED COUNSEL (Rev. 07/17)

 

2, PERSON REPRESENTED
Mark Anthony Kirkland

1 CIREBIST DIV, CODE

O5TXN4

 

VOUCHER NUMBER

 

 

4, DIST. DKT/DEF, NUMBER
4:23 -c7-00081-Y - 02

3. MAG, DAT DEF. NUMBER
4°23-m/-00126-BP

5. APPEALS DRT. DEF. NUMBER 6 OTHER DRT. NUMBER

 

7, INCASEIMATIER OF (Case Name) &. PAYMENT CATEGORY

 

9. EYP: PERSON REPRESENTED 10, REPRESENTATION EYPE

 

 

(if Felony C) Petty Offense mM Adult Defendant (1 Appellant (See fasiaetiaisy
C1 Misdemeanor C1 Other C1 Juvenile Defertant 1 Appellee ec
OC Appeal f1 Other

IL OFFENSES) CHARGED (Cite LLS. Cade, Pitle & Section) ff vere dtu one offense, bit (ap ta five} major affelses charged, aceatding te severity af after,

21 U.S.C. § 846 (24 ULS.C, §§ 844 (a)(1} and (5){1}(B)) Conspiracy to Possess with intent to Distribute 4 Controlled Substance

 

12. ATTORNEY'S NAME (inst Mame, Add, Lest Nee, including any suffix),
AND MAILING ADDRESS

Vincent E. Wisely

325 N. SL Paul

Suile 3135

Daiias, TX 762014

(214) 802-5516

‘Feluphone Number :

13, COURT ORBER

Mf O Appointing Counsel

HF Subs For Federal Defender
GP Subs For Panel Attorney

om

Co-Counsel

R Subs For Retained Attomey
f Standby Counset

"oO

Prior Attorney's
Appointnent Dates:
6 Because the above-nanted person represented |

 

    

has tesuified ander qath or bis otherwtse
satisfied this Court thar he or she (1) is Financially anable to eniploy counsel and (2) does

 

not wish to waive counsel. and because die inleresis of justice so require, the atomey whose

 

Id, NAME AND MAILING ADDRESS OF LAW FIRM (Cie provide per aisirnetious)
PO PCO

PEEPS Ppa,

 

ORES,

Hume appears in [tens 12 is appointed to represent Utis person in tis case, Ol
OF Other See Mesuge devs)

mo leo Ye . Lom, byte
: Signatuce of Presiding Judge or By Gtder BV the Court

3/46/2023

+ Date of Ores Nane Pro Tune Dare
i : / co :
Repayment of partial repayment ordered from the person represented for (lis service at lime

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Wie pe bh US appointment O YES OF NO
CLAIM FOR SERVICES AND EXPENSES \ FOR COURT USE ONLY
voy : ' TOTAL MATIVTECH, MATHATECEH, -f
CATUGGIYES fAttueh femization uf services with dates) cen AMOUNT ADJUSTED APNUSTEID Ae vibw
CLAIMED HOURS AMOUNT °
18. | a. Atraignment and/or Plea 0.00 0.00
6. Bit and Detention Hearings 0.00 0.00
c, Motion Hearings 6.00 9.00
, [di Tral 0.00 0.00
5 e, Sentencing earings 6.00 0.00
f Revocation Hearings 6.0G 0.00
“Te. Agpeals Court G.0G 0.00
h. Other (Apecifi: on additional shevts) 0.00 0.00
(RATE PER HOUR =5§ * ‘TOTALS: 0.00 G00 0.00 0.00
io, [a. Interviews and Conferences G.00 0.00
¢ [b._Oblaining and reviewing records 0,00 0.00
é c, Logal research and brief writing 0.00 0,00
§5 Ld eave ime 0.00 0.06
= Le. investigative and ather work (Speci ai additional yheets) 0.90 o.00
° (RATE PER WOUR =$ j)  FOPALS: 0.00 0.00 0.00 6.00
[72g Travel Expenses fladiaig porking, mech, waledeu, ect
18. | Other Expenses father diay expert, transcripts, ete}
GRANB TOTALS (CLAIMED AND ADJUSTED): 0.00 G.00
19, CERTIFICATION OF ATTORNEYV/PAYEE FOR THE PERIOD OF SERVICE 20. APPOINTMENT TERMINATION DATE 21. CASE DISPOSTTION
IF OTHER THAN CASE COMPLETION
FROM: TO: __ _

 

 

 

22, CLAIM STATUS C} Final Payment 0 Interim Payment Number

representation? 1 YES G NO Iyes, give details on additional sheets.
Esavear ar affirm dhe truth or correctness of the above statements.

Signature of Attorney

Have you previousty applied to the court for compensation and/or reimbursement for this case?
Other than fom the Court, have you, or lo your knowledue has anyone else, received payment (compensa ar anyidiing of valine) from apy other soutee in connection walh (his

O Supplemental Payment

YES OG NO Ifyes, were you paid? YES OF NO

Date

 

APPROVED FOR PAYMENT — COURT USE ONLY

 

 

 

 

 

 

fr excess af fhe statatory diveshold ane.

 

23, IN COURT COMP, 24, OUT OF COURT COMP. f— 25. TRAVEL EXPENSES 26, OTHER EXPENSES 27, POYPAL AATP. APPROCERT
$0.00

28. SIGNATURE OF THE PRESIDING JUDGE DATE 284. MUDGE CODE

329 IN COURT COMP. 30, GUT OF COURT COMP. 7 31. TRAVEL EXPENSES 32, OTHER ENPENSES 33. TOTAL AMT. APPROVED
$0.00

34. SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Pajanent approved | DATE 3da, JUDGE CODE

 

 

 

 
